       Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 1 of 32



                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEVADA

 MURRAY D. FORD                                   Case No.
 3204 Grey Dolphin Drive
 Las Vegas, NV 89117

            and                                   Judge

 GEORGINA FORD
 3204 Grey Dolphin Drive
 Las Vegas, NV 89117                              COMPLAINT FOR DAMAGES

                        Plaintiffs,

            v.

 NATIONSTAR MORTGAGE LLC
 c/o CSC Services of Nevada, Inc.
 2215 Renaissance Dr., Suite B
 Las Vegas, NV 89119-6727

                        Defendant.

       Now come Plaintiffs Murray D. Ford and Georgina Ford, by and through counsel,

and hereby state as follows for their Complaint against Defendant Nationstar Mortgage

LLC:

                         PARTIES, JURISDICTION, AND VENUE

       1.        Plaintiffs Murray D. Ford and Georgina Ford (collectively referred to as

“Plaintiffs” or the “Fords”) are the owners of real property located at and commonly

known as 3204 Grey Dolphin Drive, Las Vegas, NV 89117 (the “Property”).

       2.        The Fords, all times relevant, have maintained and currently maintain the

Property as their primary, principal residence.




                                              1
      Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 2 of 32



       3.     The Fords at all times relevant, were each over the age of sixty (60) and

were each an “Older person” as that term is meant pursuant to Nevada Revised Statutes

(NRS) 41.1395(4)(d).

       4.     Defendant Nationstar Mortgage LLC (“Defendant” or “Nationstar”) is the

current servicer of a note (the “Note”) and a deed of trust on the Property that allegedly

secures the Note (the “DOT”) (collectively referred to hereinafter as the “Loan”).

       5.     Nationstar has been the servicer of the Loan since July 1, 2013.

       6.     Nationstar is and at all times herein was acting as a default mortgage

servicer for the Loan and was at all relevant times herein a “debt collector” as the term

is defined by 15 U.S.C. § 1692a(6).

       7.     This Court has jurisdiction pursuant to 28 U.S.C. § 1331 as this action

primarily arises under the Dodd-Frank Wall Street Reform and Consumer Protection Act

(DFA), the Truth in Lending Act, 15 U.S.C. §§ 1601, et seq. (TILA), and the Real Estate

Settlement Procedures Act, 12 U.S.C. §§ 2601, et seq. (RESPA).

       8.     This action is specifically filed to enforce regulations promulgated by the

Consumer Finance Protection Bureau (CFPB) that became effective on January 10, 2014,

specifically, 12 C.F.R. §§ 1024.35, et seq., of Regulation X.

       9.     This action also arises out of defendant’s violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”) as well as breach of contract

by Defendant.

       10.    This Court has supplemental jurisdiction to hear any and all state law

claims pursuant to 28 U.S.C. §1367.




                                             2
      Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 3 of 32



       11.    Venue lies in this District pursuant to 28 U.S.C. §1391(b) as the Fords

maintain the Property as his primary residence.

                                    INTRODUCTION

       12.    The Fords restate and incorporate herein all of their statements and

allegations contained in the preceding paragraphs in their entirety, as if fully rewritten.

       13.    In January 2013, the CFPB issued a number of final rules concerning

mortgage markets in the United States, pursuant to the DFA, Public Law No. 111-203,

124 Stat. 1376 (2010).

       14.    Specifically, on January 17, 2013, the CFPB issued the RESPA (Regulation

X) and TILA (Regulation Z) Mortgage Servicing Final Rules, 78 F.R. 10901 (February 14,

2013) and 78 F.R. 10695 (Regulation X) (February 14, 2013), which became effective on

January 10, 2014.

       15.    The Loan in the instant matter is a "federally related mortgage loan" as

said term is defined by 12 C.F.R. § 1024.2(b).

       16.    Nationstar is subject to the aforesaid Regulations and does not qualify for

the exception for "small servicers”, as such term is defined in 12 C.F.R. §1026.41(e)(4),

nor the exemption for a “qualified lender”, as such term is defined in 12 C.F.R. § 617.700.

       17.    The Fords are asserting claims for relief against Nationstar for breaches of

specific rules under Regulation X and Regulation Z, as set forth, infra.

       18.    The Fords have a private right of action under RESPA pursuant to 12

U.S.C. §2605(f) for the claimed breaches and such action provides for remedies including

actual damages, costs, statutory damages, and attorneys’ fees.




                                            3
      Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 4 of 32



                                     BACKGROUND

       19.    The Fords restate and incorporate herein all of their statements and

allegations contained in the preceding paragraphs in their entirety, as if fully rewritten.

       20.    The Fords obtained the Loan in or about August 2004 in the initial amount

of $367,500.00.

       21.    In 2007, Mr. Ford suffered a heart attack and underwent open-heart

surgery.

       22.    Mr. Ford’s medical condition and treatment started a slippery slope from

which the Plaintiffs were unable to financially recover.

       23.    Through a variety of financial setbacks related to Mr. Ford’s health

problems, as well as caring for other sick family members, the Fords defaulted on many

of their financial obligations, including the Mortgage.

       24.    To save their home, the Fords filed for Chapter 13 Bankruptcy protection

on November 15, 2009 in the District of Nevada, which was assigned Bankruptcy Case

No. 09-31581-mkn (the “Bankruptcy”). A copy of the notice of filing the Bankruptcy is

attached as Plaintiffs’ Exhibit A.

       25.    On or about April 19, 2010, the prior servicer of the Loan, Non-Party Bank

of America, successor by merger to BAC Home Loans Servicing, LP f/k/a Countrywide

Home Loans Servicing, LP (“Bank of America”), agreed to modify the terms of the Loan

and offered a loan modification agreement to the Fords (the “Modification”). A copy of

the Modification is attached as Plaintiffs’ Exhibit B.

       26.    Pursuant to the terms of the Modification, the Fords’ new contractual

monthly mortgage payment beginning on July 1, 2010, would be $958.85 per month with




                                             4
      Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 5 of 32



$644.87 per month applied to principal and interest and $313.98 per month applied to

escrow payments. See Plaintiffs’ Exhibit B.

       27.    Pursuant to the Modification, $22,892.22 of delinquent interest, fees, and

costs were capitalized into the Loan, and the new unpaid principal balance of the Loan

was $386,921.51, as of July 1, 2010 (the “Modified UPB”), at an initial interest rate of

2.000%. See Plaintiffs’ Exhibit B.

       28.    Pursuant to the terms of the Modification, the interest rate and, inherently,

the monthly principal and interest payment were set to increase to $725.48 and 2.250%,

respectively, on July 1, 2012, subject to appropriate changes in the escrow for the Loan.

See Plaintiffs’ Exhibit B.

       29.    Pursuant to the terms of the Modification, the interest rate and, inherently,

the monthly principal and interest payment were set to increase to $806.09 and 2.500%,

respectively, on July 1, 2014, subject to appropriate changes in the escrow for the Loan.

See Plaintiffs’ Exhibit B.

       30.    Pursuant to the terms of the Modification, the interest rate and, inherently,

the monthly principal and interest payment were set to increase to $967.30 and 3.000%,

respectively, on July 1, 2015, subject to appropriate changes in the escrow for the Loan.

See Plaintiffs’ Exhibit B.

       31.    The Fords accepted the Modification by signing the Modification, having

their signatures notarized, and mailing the Modification to Bank of America.

       32.    Throughout the course of the Bankruptcy, the Fords made any and all

payments required pursuant to the terms of the Modification, by and through the

Trustee, under the Modification.




                                              5
      Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 6 of 32



       33.      On or about March 22, 2013, the U.S. Bankruptcy Court issued a Discharge

of Debtor after Completion of Chapter 13 Plan for the Fords in the Bankruptcy (the

“Discharge”). A copy of the Discharge is attached as Plaintiffs’ Exhibit C.

       34.      A dispute arose regarding the servicing of the Loan, specifically as to the

application of payments on the Loan pursuant to the terms of the Modification following

the Discharge.

       35.      On or about June 10, 2013, Bank of America mailed correspondence to the

Fords captioned “Change of Servicer Notice” stating that the servicing of the Loan would

transfer to Nationstar on July 1, 2013.     A copy of such correspondence is attached as

Plaintiffs’ Exhibit D.

       36.      On or about February 28, 2014, the Fords filed an Adversary Complaint in

the Bankruptcy against parties including, but not limited to, Bank of America and

Nationstar, which was assigned Adversary Proceeding No. 14-01034-MKN (the

“Adversary”).

       37.      On or about March 13, 2015, the Fords entered into a confidential

settlement agreement with Nationstar (the “Settlement”). Due to the confidential

nature of the Settlement and its terms, a copy of the Settlement is not attached as an

exhibit, however Nationstar, as a party to the Settlement will not be prejudiced or

otherwise negatively affected by the lack of the attachment of the Settlement.

       38.      The Fords performed their duties and fulfilled any and all obligations

under the Settlement by resuming their monthly mortgage payments under the

terms of the Modification.




                                              6
      Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 7 of 32



       39.    Pursuant to the terms of the Modification, the Fords were required to

make monthly payments on the Loan from January 1, 2015 through June 31, 2015,

in the amount of $806.09, plus escrow, subject to appropriate changes in the escrow

for the Loan. See Plaintiffs’ Exhibit B.

       40.    Pursuant to the terms of the Modification, the Fords were required to make

monthly payments on the Loan from January 1, 2015 through June 31, 2015, in the

amount of $806.09, plus escrow, subject to appropriate changes in the escrow for the

Loan. See Plaintiffs’ Exhibit B.

       41.    Pursuant to the terms of the Modification, the Fords were required to make

monthly payments on the Loan from July 1, 2015 onward, in the amount of $967.30, plus

escrow, subject to appropriate changes in the escrow for the Loan. See Plaintiffs’ Exhibit

B.

       42.    The Fords were instructed by Nationstar to withhold making any

payments on the Loan in accordance with the Modification until the Settlement was

finalized. A copy of an e-mail thread through April 10, 2015, containing pertinent

correspondence from Attorney Ariel Stern of Akerman LLP, counsel for Nationstar in

the Adversary, is attached as Plaintiffs’ Exhibit E.

       43.    The Fords’ monthly escrow obligation on the Loan pursuant to the terms of

the Modification from January 1, 2015 onward, until Nationstar otherwise advised, was

$298.84. See Plaintiffs’ Exhibit E.

       44.    On or about April 4, 2015, the Fords executed a check in the amount of

$4,419.72 to Nationstar the (the “April Payment”). A copy of the April Payment is

attached as Plaintiffs’ Exhibit F.



                                            7
      Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 8 of 32



       45.    The April Payment was sufficient to cover any and all funds due pursuant

to the terms of the Modification for the monthly payments for January 1, 2015 through

April 1, 2014. See Plaintiffs’ Exhibit E and Plaintiffs’ Exhibit F.

       46.    On or about April 8, 2015, after confirming the proper address to which the

Fords were required to send the April Payment, the Fords sent the April Payment to

Nationstar. The Fords’ monthly escrow obligation pursuant to the Loan from January 1,

2015 through April 1, 2015 was $298.84. See Plaintiffs’ Exhibit E.

       47.    On or about April 27, 2015, the Fords sent a check to Nationstar in the

amount of $1,104.94, in satisfaction of their monthly obligation on the loan pursuant to

the terms of the Modification for the month of May (the “May Payment”). A copy of the

May Payment is attached as Plaintiffs’ Exhibit G.

       48.    On or about May 27, 2015, the Fords sent a check to Nationstar in the

amount of $1,104.94, in satisfaction of their monthly obligation on the loan pursuant to

the terms of the Modification for the month of June (the “June Payment”). A copy of the

June Payment is attached as Plaintiffs’ Exhibit H.

       49.    On or about July 5, 2015, the Fords sent a check to Nationstar in the

amount of $1,260.34, in satisfaction of their monthly obligation on the loan pursuant to

the terms of the Modification for the month of July (the “July Payment”). A copy of the

July Payment is attached as Plaintiffs’ Exhibit I.

       50.    On or about August 31, 2015, the Fords, by and through Attorney Krieger,

sent correspondence to Nationstar captioned “Request for Information Pursuant to 12

C.F.R. § 1024.36” (“RFI #1”) via Certified U.S. Mail.




                                             8
      Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 9 of 32



       51.    RFI #1 requested that Nationstar provide a life of loan transaction history

report, a detailed copy of the last two (2) escrow account analyses, and a copy of an

accurate payoff statement for the Loan.

       52.    On or about July 28, 2015, the Fords sent a check to Nationstar in the

amount of $1,260.34, in satisfaction of their monthly obligation on the loan pursuant to

the terms of the Modification for the month of August (the “August Payment”). A copy of

the August Payment is attached as Plaintiffs’ Exhibit J.

       53.    On or about September 9, 2015, Nationstar sent correspondence to the

Fords by and through Attorney Krieger, in response to RFI #1 (“Response #1”). A copy of

Response #1 is attached as Plaintiffs’ Exhibit K.

       54.    Nationstar enclosed a copy of a “DETAIL TRANSACTION HISTORY” (the

“History’ for the Loan from July 5, 2013 onward (the “History”) with Response #1. See

Plaintiffs’ Exhibit K.

       55.    Response #1 stated that “no errors occurred” in the servicing of the Loan

and that “[p]ursuant to the account status, a modification has not been complete effective

for January 2015.” See Plaintiffs’ Exhibit K.

       56.    Response #1 further stated that “[o]n April 23, 2015, Nationstar received

an installment for $27,379.62” which was applied to the Loan on April 30, 2015 “for

monthly installments from April 1, 2013 to… October 1, 2014”. See Plaintiffs’ Exhibit K.

       57.    Response #1 further stated that the Loan was due for the May 1, 2015

payment. See Plaintiffs’ Exhibit K.




                                            9
      Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 10 of 32



       58.    On or about September 22, 2015, Nationstar sent correspondence to the

Fords containing or otherwise consisting of a mortgage payoff statement (the “Payoff”).

A copy of the Payoff is attached as Plaintiffs’ Exhibit L.

       59.    On or about September 25, 2015, the Fords sent a check to Nationstar in

the amount of $1,260.34, in satisfaction of their monthly obligation on the loan pursuant

to the terms of the Modification for the month of September (the “September Payment”).

A copy of the September Payment is attached as Plaintiffs’ Exhibit M.

       60.    On or around September 26, 2015, the Fords, by and through Attorney

Krieger, sent correspondence captioned “Notice of Error(s) pursuant to 12 C.F.R. §

1024.35(b); and Request for Information pursuant to 12 C.F.R. § 1024.36” (“NOE #1”) to

Nationstar via Certified Mail. A copy of NOE #1 is attached as Plaintiffs’ Exhibit N.

       61.    The Fords, by and through NOE #1, alleged that Nationstar committed four

(4) clear, separate, and distinct errors in the servicing of the Loan. See Plaintiffs’ Exhibit

N.

       62.    The Fords, by and through NOE #1, alleged that Nationstar committed an

error in the servicing of the Loan pursuant to 12 C.F.R. § 1024.35(b)(2) for “[f]ailure to

apply an accepted payment to principal, interest, escrow, or other charges under the

terms of the mortgage loan and applicable law” because Nationstar failed to apply any

and all payments made for the months of January 2015 onward under the terms of the

Loan as modified pursuant to the Modification. See Plaintiffs’ Exhibit N.

       63.    The Fords, by and through NOE #1, alleged Nationstar failed to apply any

and all payments made for the months of January 2015 onward under the terms of the

Loan as modified pursuant to the Modification because they had been charging $1304.00




                                             10
     Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 11 of 32



for a monthly mortgage payment for the months of January 2015 onward rather than the

proper amounts pursuant to the Modification of $1,104.94 for the months of January 2015

through June 2015, and $1,260.34 thereafter, respectively. See Plaintiffs’ Exhibit N.

       64.    Further, the Fords, by and through NOE #1, alleged that Nationstar

committed an error in the servicing of the Loan pursuant to 12 C.F.R. § 1024.35(b)(5) by

“imposing a fee[s] or charge[s] that the servicer lacks a reasonable basis to impose upon

the borrower” in the form of “escrow advances, corporate advances, miscellaneous

suspense advances[,] and late charges.” See Plaintiffs’ Exhibit N.

       65.    Moreover, the Fords, by and through NOE #1, alleged that Nationstar

committed an error in the servicing of the Loan pursuant to 12 C.F.R. § 1024.35(b)(11) in

failing or otherwise refusing to honor the finalized terms of the Modification.         See

Plaintiffs’ Exhibit N.

       66.    Lastly, the Fords, by and through NOE #1, alleged that Nationstar

committed an error in the servicing of the Loan pursuant to 12 C.F.R. § 1024.35(b)(11)

by sending “coupon books” to the Fords stating that the Fords’ monthly payment

obligations on the Loan were $1,304.00 when such is not the case. See Plaintiffs’ Exhibit

N.

       67.    Nationstar has not sent any correspondence to either the Fords or Attorney

Krieger acknowledging receipt of or otherwise responding to NOE #1.

       68.    On or around September 30, 2015, the Fords, by and through Attorney

Krieger, sent correspondence captioned “Notice of Error(s) pursuant to 12 C.F.R. §

1024.35(b); and Request for Information pursuant to 12 C.F.R. § 1024.36” (“NOE #2”) to

Nationstar via Certified Mail. A copy of NOE #2 is attached as Plaintiffs’ Exhibit O.




                                           11
     Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 12 of 32



       69.    The Fords, by and through NOE #2, reasserted the errors otherwise

contained in NOE #1. See Plaintiffs’ Exhibit O.

       70.    The Fords, by and through NOE #2, alleged that Nationstar committed one

(1) additional error in the servicing of the Loan that was clear, separate, and distinct

errors from those asserted by and through NOE #1. See Plaintiffs’ Exhibit O.

       71.    The Fords, by and through NOE #2, alleged that Nationstar committed an

error in the servicing of the Loan pursuant to 12 C.F.R. § 1024.35(b)(11) in charging an

improper amount for the escrow account for the Loan. See Plaintiffs’ Exhibit O.

       72.    Specifically, as of March 6, 2014, the monthly escrow payment for the Loan

was $298.84, consisting of $85.55 for homeowner’s insurance and $213.29 for property

taxes, respectively. See Plaintiffs’ Exhibit O.

       73.    From March 6, 2014, through September 30, 2015, neither the Fords nor

Attorney Krieger had received any notice from Nationstar indicating that their monthly

obligations for the escrow account for the Loan had changed. See Plaintiffs’ Exhibit O.

       74.    As such, the Fords, by and through NOE #2, alleged that Nationstar

committed an error in the servicing of the Loan pursuant to 12 C.F.R. § 1024.35(b)(11) in

charging $497.91, rather than $298.84. See Plaintiffs’ Exhibit O.

       75.    Nationstar has not sent any correspondence to either the Fords or Attorney

Krieger acknowledging receipt of or otherwise responding to NOE #2.

       76.    Nationstar’s refusal to honor the Modification has resulted in a significant

number of the Fords’ mortgage payments to be misapplied, thereby causing the Fords to

incur a number of improper, wrongful, or otherwise unwarranted fees on the Loan




                                             12
     Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 13 of 32



including, but not limited to numerous late fees, corporate advances, and miscellaneous

charges.

      77.    The Fords, throughout this entire process, have merely wanted to pay their

monthly mortgage payment pursuant to the Modification for which they bargained and

continue to rehabilitate their credit following the Bankruptcy.

      78.    The Fords have further taken reasonable steps, by and through issuing

NOE #1 and NOE #2, to correct the errors that the Fords allege Nationstar committed in

the servicing of the Loan and mitigate their damages, but Nationstar has wholly failed

to respond to such.

      79.    All attempts and requests the Fords have made to Nationstar to have their

mortgage servicing corrected have fallen on deaf ears.

      80.    Nationstar’s continued and consistent refusal to honor the Modification and

to properly respond to the multiple notices of error submitted by the Fords have caused

the Fords significant, continued, and wholly unwarranted harm to their credit.

      81.    Moreover, Nationstar’s actions in refusing to honor the Modification,

wrongfully claiming that the Fords are in default on the Loan, failing to respond to NOE

#1 and NOE #2 have caused the Fords to incur costs, fees, and lost time in attempting to

correct the errors and mistakes on the Loan account.

      82.    In fact, even though the Fords had fully performed under the Loan

Modification and Settlement terms by tendering all payments due to Nationstar,

Nationstar mailed the Fords a letter dated October 21, 2015, wherein Nationstar

incorrectly stated that the Fords failed to make payments in the amount of $12,434.50




                                           13
      Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 14 of 32



and demanded that the Fords “pay this amount to bring [the Fords’] loan current.” A

Copy of this letter is not currently available for an exhibit.

       83.    Further, the Nationstar Demand Letter improperly threatened that

“failure to bring [the Fords’] loan current may result in fees, possibly even foreclosure

and the loss of the [Fords’] home.”

       84.    Further, Nationstar’s wrongful and willful actions have caused the Fords

to suffer emotional distress driven by the fear that they might lose and be forced from

their family home, even though Nationstar is wrongfully alleging the Fords to be in

default, which has resulted in anxiety, depression, embarrassment, fear, frustration,

anger, loss of sleep, loss of appetite, chest pains, headaches, feelings of helplessness and

intimidation, illness, medical expenses, rage and other emotional distress.

       85.    As of the time of the filing of this Complaint, Nationstar has had more than

5,600 consumer complaints lodged against them nationally, specifically concerning the

issue identified as “[l]oan modification, collection, foreclosure” and more than 4,300

consumer complaints lodged against them nationally, specifically concerning the issue

identified as “[l]oan servicing, payments, escrow account”. Each such complaint is filed

and cataloged in the Consumer Financial Protection Bureau’s publicly accessible online

database (http://www.consumerfinance.gov/complaintdatabase/).

                  COUNT ONE: VIOLATION OF 12 C.F.R. §1024.35(d)

Failure to Send Written Notice Acknowledging Receipt of a Notice of Error in Violation
                    of the Requirements of 12 C.F.R. § 1024.35(d)

       86.    The Fords restate and incorporate herein all of their statements and

allegations contained in the preceding paragraphs in their entirety, as if fully rewritten.




                                             14
      Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 15 of 32



       87.    12 C.F.R. § 1024.35(a) provides that a “servicer shall comply with the

requirements of this section for any written notice from the borrower that asserts an

error and that includes the name of the borrower, information that enables the servicer

to identify the borrower's mortgage loan account, and the error the borrower believes has

occurred.”

       88.    Further, Comment 1 of the CFPB’s Official Interpretations of 12 C.F.R. §

1024.35(a) provides that “[a] notice of error is submitted by a borrower if the notice of

error is submitted by an agent of the borrower.”

       89.    12 C.F.R. § 1024.35(d) provides that “[w]ithin five days (excluding legal

public holidays, Saturdays, and Sundays) of a servicer receiving a notice of error from a

borrower, the servicer shall provide to the borrower a written response acknowledging

receipt of the notice of error.”

       90.    On or about September 26, 2015, the Fords, by and through Attorney

Krieger, sent NOE #1 to Nationstar via Certified Mail. See Plaintiffs’ Exhibit N.

       91.    The Fords sent NOE #1 to the address indicated on Nationstar’s website as

the address to which borrowers should submit any requests for information, notices of

error, or qualified written requests.

       92.    The Fords, by and through NOE #1, alleged that Nationstar committed four

(4) clear, separate, and distinct errors in the servicing of the Loan. See Plaintiffs’ Exhibit

N.

       93.    The Fords, by and through NOE #1, alleged that Nationstar committed an

error in the servicing of the Loan pursuant to 12 C.F.R. § 1024.35(b)(2) for “[f]ailure to

apply an accepted payment to principal, interest, escrow, or other charges under the




                                             15
     Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 16 of 32



terms of the mortgage loan and applicable law” because Nationstar failed to apply any

and all payments made for the months of January 2015 onward under the terms of the

Loan as modified pursuant to the Modification. See Plaintiffs’ Exhibit N.

       94.    The Fords, by and through NOE #1, alleged Nationstar failed to apply any

and all payments made for the months of January 2015 onward under the terms of the

Loan as modified pursuant to the Modification because they had been charging $1304.00

for a monthly mortgage payment for the months of January 2015 onward rather than the

proper amounts pursuant to the Modification of $1,104.94 for the months of January 2015

through June 2015, and $1,260.34 thereafter, respectively. See Plaintiffs’ Exhibit N.

       95.    Further, the Fords, by and through NOE #1, alleged that Nationstar

committed an error in the servicing of the Loan pursuant to 12 C.F.R. § 1024.35(b)(5) by

“imposing a fee[s] or charge[s] that the servicer lacks a reasonable basis to impose upon

the borrower” in the form of “escrow advances, corporate advances, miscellaneous

suspense advances[,] and late charges.” See Plaintiffs’ Exhibit N.

       96.    Moreover, the Fords, by and through NOE #1, alleged that Nationstar

committed an error in the servicing of the Loan pursuant to 12 C.F.R. § 1024.35(b)(11) in

failing or otherwise refusing to honor the finalized terms of the Modification.      See

Plaintiffs’ Exhibit N.

       97.    Lastly, the Fords, by and through NOE #1, alleged that Nationstar

committed an error in the servicing of the Loan pursuant to 12 C.F.R. § 1024.35(b)(11)

by sending “coupon books” to the Fords stating that the Fords’ monthly payment

obligations on the Loan were $1,304.00 when such is not the case. See Plaintiffs’ Exhibit

N.




                                           16
     Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 17 of 32



       98.    Nationstar received NOE #1 on or around October 7, 2015.

       99.    Pursuant to 12 C.F.R. § 1024.35(d), Nationstar was required to send

written notice to the Fords acknowledging receipt of NOE #1 within five (5) days of

Nationstar’s receipt of NOE #1, excluding legal public holidays, Saturdays, and Sundays.

       100.   Neither the Fords nor Attorney Krieger have received any correspondence

acknowledging receipt of or otherwise responding to NOE #1

       101.   Nationstar has not sent any correspondence to either the Fords or Attorney

Krieger acknowledging receipt of or otherwise responding to NOE #1.

       102.   Nationstar failed to send written notice to the Fords acknowledging receipt

of NOE #1 within five (5) days of Nationstar’s receipt of NOE #1, excluding legal public

holidays, Saturdays, and Sundays.

       103.   Nationstar’s actions, in failing to send written notice to the Fords

acknowledging receipt of NOE #1 within five (5) days of Nationstar’s receipt of NOE #1,

excluding legal public holidays, Saturdays, and Sundays, constitute a clear, separate,

and distinct violation of 12 C.F.R. § 1024.35(d).

       104.   Nationstar’s actions are believed to be part of a pattern and practice of

behavior in conscious disregard for the Fords’ rights.

       105.   As a result of Nationstar’s actions, Nationstar is liable to the Fords for

actual damages, statutory damages, costs, and attorneys’ fees.

                 COUNT TWO: VIOLATION OF 12 C.F.R. §1024.35(d)

Failure to Send Written Notice Acknowledging Receipt of a Notice of Error in Violation
                    of the Requirements of 12 C.F.R. § 1024.35(d)

       106.   The Fords restate and incorporate herein all of their statements and

allegations contained in the preceding paragraphs in their entirety, as if fully rewritten.



                                            17
      Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 18 of 32



       107.   12 C.F.R. § 1024.35(a) provides that a “servicer shall comply with the

requirements of this section for any written notice from the borrower that asserts an

error and that includes the name of the borrower, information that enables the servicer

to identify the borrower's mortgage loan account, and the error the borrower believes has

occurred.”

       108.   Further, Comment 1 of the CFPB’s Official Interpretations of 12 C.F.R. §

1024.35(a) provides that “[a] notice of error is submitted by a borrower if the notice of

error is submitted by an agent of the borrower.”

       109.   12 C.F.R. § 1024.35(d) provides that “[w]ithin five days (excluding legal

public holidays, Saturdays, and Sundays) of a servicer receiving a notice of error from a

borrower, the servicer shall provide to the borrower a written response acknowledging

receipt of the notice of error.”

       110.   On or around September 30, 2015, the Fords, by and through Attorney

Krieger, sent NOE #2 to Nationstar via Certified Mail. See Plaintiffs’ Exhibit O.

       111.   The Fords sent NOE #2 to the address indicated on Nationstar’s website as

the address to which borrowers should submit any requests for information, notices of

error, or qualified written requests.

       112.   The Fords, by and through NOE #2, reasserted the errors otherwise

contained in NOE #1. See Plaintiffs’ Exhibit O.

       113.   The Fords, by and through NOE #2, alleged that Nationstar committed one

(1) additional error in the servicing of the Loan that was clear, separate, and distinct

errors from those asserted by and through NOE #1. See Plaintiffs’ Exhibit O.




                                           18
     Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 19 of 32



       114.   The Fords, by and through NOE #2, alleged that Nationstar committed an

error in the servicing of the Loan pursuant to 12 C.F.R. § 1024.35(b)(11) in charging an

improper amount for the escrow account for the Loan. See Plaintiffs’ Exhibit O.

       115.   Specifically, as of March 6, 2014, the monthly escrow payment for the Loan

was $298.84, consisting of $85.55 for homeowner’s insurance and $213.29 for property

taxes, respectively. See Plaintiffs’ Exhibit O.

       116.   From March 6, 2014, through September 30, 2015, neither the Fords nor

Attorney Krieger had received any notice from Nationstar indicating that their monthly

obligations for the escrow account for the Loan had changed. See Plaintiffs’ Exhibit O.

       117.   As such, the Fords, by and through NOE #2, alleged that Nationstar

committed an error in the servicing of the Loan pursuant to 12 C.F.R. § 1024.35(b)(11) in

charging $497.91, rather than $298.84. See Plaintiffs’ Exhibit O.

       118.   Nationstar received NOE #2 on or around October 7, 2015.

       119.   Pursuant to 12 C.F.R. § 1024.35(d), Nationstar was required to send

written notice to the Fords acknowledging receipt of NOE #2 within five (5) days of

Nationstar’s receipt of NOE #2, excluding legal public holidays, Saturdays, and Sundays.

       120.   Neither the Fords nor Attorney Krieger have received any correspondence

acknowledging receipt of or otherwise responding to NOE #2.

       121.   Nationstar has not sent any correspondence to either the Fords or Attorney

Krieger acknowledging receipt of or otherwise responding to NOE #2.

       122.   Nationstar failed to send written notice to the Fords acknowledging receipt

of NOE #1 within five (5) days of Nationstar’s receipt of NOE #2, excluding legal public

holidays, Saturdays, and Sundays.




                                             19
     Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 20 of 32



       123.   Nationstar’s actions, in failing to send written notice to the Fords

acknowledging receipt of NOE #2 within five (5) days of Nationstar’s receipt of NOE #2,

excluding legal public holidays, Saturdays, and Sundays, constitute a clear, separate,

and distinct violation of 12 C.F.R. § 1024.35(d).

       124.   Nationstar’s actions are believed to be part of a pattern and practice of

behavior in conscious disregard for the Fords’ rights.

       125.   As a result of Nationstar’s actions, Nationstar is liable to the Fords for

actual damages, statutory damages, costs, and attorneys’ fees.

                COUNT THREE: VIOLATION OF 12 C.F.R. §1024.35(e)

 Failure to Send a Response to a Notice of Error in Compliance with the Requirements
                              of 12 C.F.R. § 1024.35(e)(1)

       126.   The Fords restate and incorporate herein all of their statements and

allegations contained in the preceding paragraphs in their entirety, as if fully rewritten.

       127.   12 C.F.R. § 1024.35(a) provides that a “servicer shall comply with the

requirements of this section for any written notice from the borrower that asserts an

error and that includes the name of the borrower, information that enables the servicer

to identify the borrower's mortgage loan account, and the error the borrower believes has

occurred.”

       128.   Further, Comment 1 of the CFPB’s Official Interpretations of 12 C.F.R. §

1024.35(a) provides that “[a] notice of error is submitted by a borrower if the notice of

error is submitted by an agent of the borrower.”

       129.   12 C.F.R. § 1024.35(e)(1) provides that a servicer must respond to a notice

of error by either “[c]orrecting the error or errors identified by the borrower and providing

the borrower with a written notification of the correction, the effective date of the


                                             20
      Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 21 of 32



correction, and contact information, including a telephone number, for further

assistance” or “[c]onducting a reasonable investigation and providing the borrower with

a written notification that includes a statement that the servicer has determined that no

error occurred, a statement of the reason or reasons for this determination, a statement

of the borrower's right to request documents relied upon by the servicer in reaching its

determination, information regarding how the borrower can request such documents, and

contact information, including a telephone number, for further assistance.”

       130.   12 C.F.R. § 1024.35(e)(3)(i)(C) provides that, in regards to a notice of error

submitted pursuant to 12 C.F.R. §1024.35(b)(11), a servicer must comply with 12 C.F.R.

§1024.35(e)(1) no later than thirty (30) days, excluding legal public holidays, Saturdays,

and Sundays, after the servicer’s receipt of the applicable notice of error.

       131.   On or about September 26, 2015, the Fords, by and through Attorney

Krieger, sent NOE #1 to Nationstar via Certified Mail. See Plaintiffs’ Exhibit N.

       132.   The Fords, by and through NOE #1, alleged that Nationstar committed four

(4) clear, separate, and distinct errors in the servicing of the Loan. See Plaintiffs’ Exhibit

N.

       133.   The Fords, by and through NOE #1, alleged that Nationstar committed an

error in the servicing of the Loan pursuant to 12 C.F.R. § 1024.35(b)(2) for “[f]ailure to

apply an accepted payment to principal, interest, escrow, or other charges under the

terms of the mortgage loan and applicable law” because Nationstar failed to apply any

and all payments made for the months of January 2015 onward under the terms of the

Loan as modified pursuant to the Modification. See Plaintiffs’ Exhibit N.




                                             21
     Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 22 of 32



       134.   The Fords, by and through NOE #1, alleged Nationstar failed to apply any

and all payments made for the months of January 2015 onward under the terms of the

Loan as modified pursuant to the Modification because they had been charging $1304.00

for a monthly mortgage payment for the months of January 2015 onward rather than the

proper amounts pursuant to the Modification of $1,104.94 for the months of January 2015

through June 2015, and $1,260.34 thereafter, respectively. See Plaintiffs’ Exhibit N.

       135.   Further, the Fords, by and through NOE #1, alleged that Nationstar

committed an error in the servicing of the Loan pursuant to 12 C.F.R. § 1024.35(b)(5) by

“imposing a fee[s] or charge[s] that the servicer lacks a reasonable basis to impose upon

the borrower” in the form of “escrow advances, corporate advances, miscellaneous

suspense advances[,] and late charges.” See Plaintiffs’ Exhibit N.

       136.   Moreover, the Fords, by and through NOE #1, alleged that Nationstar

committed an error in the servicing of the Loan pursuant to 12 C.F.R. § 1024.35(b)(11) in

failing or otherwise refusing to honor the finalized terms of the Modification.      See

Plaintiffs’ Exhibit N.

       137.   Lastly, the Fords, by and through NOE #1, alleged that Nationstar

committed an error in the servicing of the Loan pursuant to 12 C.F.R. § 1024.35(b)(11)

by sending “coupon books” to the Fords stating that the Fords’ monthly payment

obligations on the Loan were $1,304.00 when such is not the case. See Plaintiffs’ Exhibit

N.

       138.   Nationstar received NOE #1 on or around October 7, 2015.

       139.   Pursuant to 12 C.F.R. § 1024.35(e), Nationstar was required to send a

written response to NOE #1 to the Fords in compliance with the requirements of 12




                                           22
     Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 23 of 32



C.F.R. 1024.35(e)(1) within thirty (30) days of Nationstar’s receipt of NOE #1, excluding

legal public holidays, Saturdays, and Sundays.

       140.   Neither the Fords nor Attorney Krieger have received any correspondence

from Nationstar in response to NOE #1

       141.   Nationstar has not sent any correspondence to either the Fords or Attorney

Krieger in response to NOE #1.

       142.   Nationstar failed to send a written response to NOE #1 to the Fords in

compliance with the requirements of 12 C.F.R. 1024.35(e)(1) within thirty (30) days of

Nationstar’s receipt of NOE #1, excluding legal public holidays, Saturdays, and Sundays

       143.   Nationstar’s actions, in failing to send a written response to NOE #1 to the

Fords in compliance with the requirements of 12 C.F.R. 1024.35(e)(1) within thirty (30)

days of Nationstar’s receipt of NOE #1, excluding legal public holidays, Saturdays, and

Sundays, constitute a clear, separate, and distinct violation of 12 C.F.R. § 1024.35(e).

       144.   Nationstar’s actions are believed to be part of a pattern and practice of

behavior in conscious disregard for the Fords’ rights.

       145.   As a result of Nationstar’s actions, Nationstar is liable to the Fords for

actual damages, statutory damages, costs, and attorneys’ fees.

                 COUNT FOUR: VIOLATION OF 12 C.F.R. §1024.35(e)

 Failure to Send a Response to a Notice of Error in Compliance with the Requirements
                              of 12 C.F.R. § 1024.35(e)(1)

       146.   The Fords restate and incorporate herein all of their statements and

allegations contained in the preceding paragraphs in their entirety, as if fully rewritten.

       147.   12 C.F.R. § 1024.35(a) provides that a “servicer shall comply with the

requirements of this section for any written notice from the borrower that asserts an


                                            23
     Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 24 of 32



error and that includes the name of the borrower, information that enables the servicer

to identify the borrower's mortgage loan account, and the error the borrower believes has

occurred.”

       148.   Further, Comment 1 of the CFPB’s Official Interpretations of 12 C.F.R. §

1024.35(a) provides that “[a] notice of error is submitted by a borrower if the notice of

error is submitted by an agent of the borrower.”

       149.   12 C.F.R. § 1024.35(e)(1) provides that a servicer must respond to a notice

of error by either “[c]orrecting the error or errors identified by the borrower and providing

the borrower with a written notification of the correction, the effective date of the

correction, and contact information, including a telephone number, for further

assistance” or “[c]onducting a reasonable investigation and providing the borrower with

a written notification that includes a statement that the servicer has determined that no

error occurred, a statement of the reason or reasons for this determination, a statement

of the borrower's right to request documents relied upon by the servicer in reaching its

determination, information regarding how the borrower can request such documents, and

contact information, including a telephone number, for further assistance.”

       150.   12 C.F.R. § 1024.35(e)(3)(i)(C) provides that, in regards to a notice of error

submitted pursuant to 12 C.F.R. §1024.35(b)(11), a servicer must comply with 12 C.F.R.

§1024.35(e)(1) no later than thirty (30) days, excluding legal public holidays, Saturdays,

and Sundays, after the servicer’s receipt of the applicable notice of error.

       151.   On or around September 30, 2015, the Fords, by and through Attorney

Krieger, sent NOE #2 to Nationstar via Certified Mail. See Plaintiffs’ Exhibit O.




                                             24
     Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 25 of 32



       152.   The Fords, by and through NOE #2, reasserted the errors otherwise

contained in NOE #1. See Plaintiffs’ Exhibit O.

       153.   The Fords, by and through NOE #2, alleged that Nationstar committed one

(1) additional error in the servicing of the Loan that was clear, separate, and distinct

errors from those asserted by and through NOE #1. See Plaintiffs’ Exhibit O.

       154.   The Fords, by and through NOE #2, alleged that Nationstar committed an

error in the servicing of the Loan pursuant to 12 C.F.R. § 1024.35(b)(11) in charging an

improper amount for the escrow account for the Loan. See Plaintiffs’ Exhibit O.

       155.   Specifically, as of March 6, 2014, the monthly escrow payment for the Loan

was $298.84, consisting of $85.55 for homeowner’s insurance and $213.29 for property

taxes, respectively. See Plaintiffs’ Exhibit O.

       156.   From March 6, 2014, through September 30, 2015, neither the Fords nor

Attorney Krieger had received any notice from Nationstar indicating that their monthly

obligations for the escrow account for the Loan had changed. See Plaintiffs’ Exhibit O.

       157.   As such, the Fords, by and through NOE #2, alleged that Nationstar

committed an error in the servicing of the Loan pursuant to 12 C.F.R. § 1024.35(b)(11) in

charging $497.91, rather than $298.84. See Plaintiffs’ Exhibit O.

       158.   Nationstar received NOE #2 on or around October 7, 2015.

       159.   Pursuant to 12 C.F.R. § 1024.35(e), Nationstar was required to send a

written response to NOE #2 to the Fords in compliance with the requirements of 12

C.F.R. 1024.35(e)(1) within thirty (30) days of Nationstar’s receipt of NOE #1, excluding

legal public holidays, Saturdays, and Sundays.




                                             25
     Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 26 of 32



       160.   Neither the Fords nor Attorney Krieger have received any correspondence

from Nationstar in response to NOE #2.

       161.   Nationstar has not sent any correspondence to either the Fords or Attorney

Krieger in response to NOE #2.

       162.   Nationstar failed to send a written response to NOE #2 to the Fords in

compliance with the requirements of 12 C.F.R. 1024.35(e)(1) within thirty (30) days of

Nationstar’s receipt of NOE #2, excluding legal public holidays, Saturdays, and Sundays

       163.   Nationstar’s actions, in failing to send a written response to NOE #2 to the

Fords in compliance with the requirements of 12 C.F.R. 1024.35(e)(1) within thirty (30)

days of Nationstar’s receipt of NOE #2, excluding legal public holidays, Saturdays, and

Sundays, constitute a clear, separate, and distinct violation of 12 C.F.R. § 1024.35(e).

       164.   Nationstar’s actions are believed to be part of a pattern and practice of

behavior in conscious disregard for the Fords’ rights.

       165.   As a result of Nationstar’s actions, Nationstar is liable to the Fords for

actual damages, statutory damages, costs, and attorneys’ fees.


                               COUNT FIVE
               VIOLATIONS OF THE FDCPA - 15 U.S.C. § 1692, et seq.

                 (against Defendant Nationstar as a “Default Servicer”)

       166.   The Fords restate and incorporate herein all of their statements and

allegations contained in the preceding paragraphs in their entirety, as if fully rewritten.

       167.   Nationstar’s conduct violated 15 U.S.C. § 1692d in that Nationstar engaged

in behavior the natural consequence of which was to harass, oppress, or abuse the

Plaintiffs in connection with the collection of a debt. Specifically, Nationstar made




                                            26
     Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 27 of 32



numerous threats of foreclosure and attempted to collect impermissible fees, interest and

other charges causing the Plaintiffs to feel helpless, harassed, oppressed, and/or abused.

       168.   Nationstar’s conduct violated 15 U.S.C. § 1692e in that Nationstar engaged

in false, deceptive or misleading behavior in connection with the collection of a debt.

Specifically, among other things, Nationstar misstated the correct balance due on

Plaintiffs’ Loan, wrongfully claimed that the Fords were in default on the Loan,

misrepresented that Nationstar had the right to foreclose on the Property, and by failing

to honor the terms of the loan modification. Specifically, Nationstar failed to apply any

and all payments made for the months of January 2015 onward under the terms of the

Loan as modified pursuant to the Modification because they had been charging $1304.00

for a monthly mortgage payment for the months of January 2015 onward rather than the

proper amounts pursuant to the Modification of $1,104.94 for the months of January 2015

through June 2015, and $1,260.34

       169.   Nationstar’s conduct violated 15 U.S.C. § 1692e(2) in that Nationstar

misrepresented the amount of the Debt owed by Plaintiffs and attempted to have

Plaintiffs pay more than the Debt actually owed on the Mortgage by failing to honor the

terms of the loan modification.

       170.   Nationstar’s conduct violated 15 U.S.C. § 1692e(5) in that Nationstar

threatened to take action against the Plaintiffs which it could not legally take or did not

intend to take in collection of a debt by wrongfully claiming that the Fords were in default

on the Loan and threatening foreclosure.

       171.   Nationstar’s conduct violated 15 U.S.C. § 1692e(10) in that Nationstar

employed various false representations and deceptive means to collect a debt.




                                            27
     Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 28 of 32



       172.   Nationstar’s conduct violated 15 U.S.C. § 1692f in that Nationstar’s

collection actions were unfair and/or unconscionable.

       173.   Nationstar’s conduct violated 15 U.S.C. § 1692f(1) in that Nationstar:

       • attempted to collect an amount not authorized by the Loan Modificaiton

          Agreement;

       • charged an improper amount for the escrow account for the Loan;

       • sent “coupon books” to the Fords stating that the Fords’ monthly payment

          obligations on the Loan were $1,304.00 when such was not the case;

       • failed or otherwise refused to honor the finalized terms of the Modification

       174.   The foregoing acts and omissions of Defendant Nationstar constitute

numerous and multiple violations of the FDCPA, including every one of the above-cited

provisions, as well others as discovery may provide.

       175.   The Fords are entitled to damages as a result of Nationstar’s violations.

       176.   The Fords have been required to retain the undersigned as counsel to

protect their legal rights to prosecute this cause of action, and are therefore entitled to

an award or reasonable attorneys’ fees plus costs incurred.

                                      COUNT SIX
                                  (Breach of Contract)

       177.   The Fords restate and incorporate herein all of their statements and

allegations contained in the preceding paragraphs in their entirety, as if fully rewritten.

       178.   The Fords accepted and performed under the terms of the Modification and

Settlement.




                                            28
     Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 29 of 32



       179.   Nationstar breached the Modification and Settlement by failing to honor

the Modification terms and apply payments in accord with the Modification and

Settlement.

       180.   Nationstar has denied or failed to honor the Modification and Settlement

and instead, has generated profit for itself by charging late and default fees and interest

in excess of the original modified monthly mortgage payment amount, in breach of the

Modification and Settlement terms and thereby has breached the contract between

Plaintiff and Nationstar.

       181.   The Fords performed all their obligations under the Modification and

Settlement, however Nationstar has breached the Modification and Settlement.

       182.   As a result of these breaches, the Fords have sustained the following

damages, to be proven at trial, including, but not limited to:

          a. Increased amounts of the principal balance of their mortgage loan;

          b. Increased amounts of mortgage payments over the course of the mortgage

              loan;

          c. Late fees and the improper application of their principal payments

              improperly used to service those fees;

       183.   As a direct and proximate result of Nationstar’s breach of the Modification

and Settlement, the Fords did not receive the benefit of the bargain, suffered damages

and are threatened with additional harm, in an amount to be determined at trial.

                                     COUNT SEVEN
              (Breach of Implied Covenant of Good Faith And Fair Dealing)

       184.   The Fords restate and incorporate herein all of their statements and

allegations contained in the preceding paragraphs in their entirety, as if fully rewritten.


                                            29
      Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 30 of 32



       185.   Every contract contains an implied covenant requiring that neither party

act to disrupt the other’s ability to enjoy the benefit of the bargain. Furthermore, where

a contract provides one of the Parties with discretion or sole authority to carry out

obligations under the agreement for the benefit of the other Party, the Party enjoying

such discretion and authority may not abuse it or exercise it in such a manner so as to

deprive the other Party of the benefits of the contract.

       186.   Nationstar breached the implied covenant of good faith and fair dealing

contained in the Modification and Settlement.

       187.   Nationstar further breached the implied covenant of good faith and fair

dealing by, inter alia:

          a. Failing to make a good faith effort to fulfill contractual obligations, written

              and implied promises, and loan servicing functions;

          b. Failing to allocate sufficient resources and to train competent and

              knowledgeable staff in order to ensure accurate processing of payments

              made pursuant to a valid and existing permanent loan modification

              agreement;

          c. Demanding late fees, interest and other delinquency related fees from the

              Fords in excess of the original monthly mortgage payment amount that

              Plaintiffs were not responsible to pay; and,

          d. Threatening the Fords with foreclosure despite the existence of the

              Modification even through Nationstar received timely payments under the

              Modification and Settlement terms.




                                            30
     Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 31 of 32



       188.   The Mortgage Defendants have intentionally and continuously acted in a

manner so as to frustrate Plaintiffs’ ability to make continued and timely payments

pursuant to the terms of the Modification and Settlement by which Nationstar was

obligated to abide.

       189.   By failing to honor the terms of the Modification and Settlement,

Nationstar has abused its authority under the Modification and Settlement, frustrated

Plaintiffs’ ability to obtain the benefits of the Modification and Settlement, and thus

breached the implied covenant of good faith and fair dealing.

       190.   As a direct result of Nationstar’s breaches of the implied covenant of good

faith and fair dealing, Plaintiffs suffered damages in an amount to be determined at trial.

                                     COUNT EIGHT
                               (Violations of NRS 41.1395)

       191.   The Fords restate and incorporate herein all of their statements and

allegations contained in the preceding paragraphs in their entirety, as if fully rewritten.

       192.   The Fords are each "older or vulnerable" persons as defined by NRS

41.1395.

       193.   Nationstar caused the Fords to suffer injuries as a result of Nationstar’s

illegal conduct; specifically emotional and economic distress.

       194.   Nationstar’s actions were willful and unjustified and resulted in causing

injuries and mental anguish to the Fords, and each of them.

       195.   As a direct and proximate result of Nationstar’s wrongful conduct, the

Fords suffered damages.




                                            31
      Case 2:16-cv-00344-RFB-PAL Document 1 Filed 02/19/16 Page 32 of 32



                                PRAYER FOR RELIEF


       WHEREFORE, Plaintiff prays that this Court enter its order granting judgment

for the following:

       A.)    For actual damages, costs, and reasonable attorneys’ fees;

       B.)    For statutory damages in the amount of Two Thousand Dollars ($2,000.00)

as to each and every count contained in Count One through Count Four;

       C.)    For statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)

as to Nationstar;

       D.)    For two (2) times any actual damages pursuant to NRS 41.1395;

       E.)    For punitive damages against all Defendants; and

       F.)    Such other relief which this Court may deem appropriate.

                                    JURY DEMAND

       Plaintiffs hereby request a trial by jury on all issues, with the maximum number
of jurors permitted by law.
                                          Respectfully submitted,

                                         /s/ David Krieger
                                         David Krieger #9086
                                         Haines & Krieger
                                         8985 S. Eastern Avenue, #350
                                         Henderson, NV 89123
                                         708/880-5554 x. 223
                                         dkrieger@hainesandkrieger.com

                                         /s/ Daniel M. Solar
                                         Daniel M. Solar #0085632
                                         THE DANN LAW FIRM CO., L.P.A.
                                         P.O. Box 6031040
                                         Cleveland, OH 44103
                                         (216) 373-0539
                                         Fax (216) 373-0536
                                         notices@dannlaw.com
                                         Pro Hac Vice w/Application Pending



                                           32
